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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF OKLAHOMA

    BRITTNEY BUCKNER and                      §
    VANCE DOTSON,                             §
                                              §
                   Plaintiffs,                §
                                              §
    vs.                                       §       Case No. 5:22-cv-00002-D
                                              §
    ENHANCED RECOVERY                         §
    COMPANY, LLC, and                         §
    ACCOUNT RESOLUTION                        §
    SERVICES, d/b/a                           §
    HEALTHCARE REVENUE                        §
    RECOVERY GROUP, LLC.,                     §
    and CAC FINANCIAL CORP.,                  §
                                              §
                   Defendants.                §

          DEFENDANT HEALTHCARE REVENUE RECOVERY GROUP, LLC’S
           ORIGINAL ANSWER TO PLAINTIFFS’ AMENDED COMPLAINT

           Defendant Healthcare Revenue Recovery Group, LLC d/b/a ARS Account

Resolution Services (“HRRG”),1 by and through its undersigned counsel, files its Original

Answer to Plaintiffs’ Amended Complaint [ECF No. 9], and would respectfully show as

follows:

                                   I.     INTRODUCTION

           1.      Paragraph No. 1 of Plaintiffs’ Amended Complaint is merely descriptive of

Plaintiffs’ alleged claims against HRRG; therefore, no response is required. Further, to the




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      Plaintiffs have incorrectly named HRRG as “Account Resolution Services, d/b/a
Healthcare Revenue Recovery Group, LLC.”

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extent that Paragraph No. 1 is directed at Defendants Enhanced Recovery Company LLC

and CAC Financial Corp., and not at HRRG, no response is required. To the extent,

however, a response may be required, Paragraph No. 1 is admitted in part and denied in

part. HRRG admits that Plaintiffs purport to bring this action against HRRG under the Fair

Debt Collection Practices Act (“FDCPA”), 15 U.S.C. § 1692 et. seq. However, HRRG

denies that it violated the FDCPA and HRRG further denies that it engaged in abusive,

deceptive and unfair practices.

                         II.      JURISDICTION AND VENUE

       2.      Paragraph No. 2 of Plaintiffs’ Amended Complaint is merely descriptive of

Plaintiffs’ jurisdictional and venue allegations; therefore, no response is required.

Further, to the extent that Paragraph No. 2 is directed at Defendants Enhanced Recovery

Company LLC and CAC Financial Corp., and not at HRRG, no response is required. To

the extent, however, a response may be required, Paragraph No. 2 is admitted in part and

denied in part. HRRG admits that Plaintiffs purport to bring this action under the FDCPA

and that this Court could, therefore, have jurisdiction under 15 U.S.C. § 1692 and 28

U.S.C. § 1331 over the FDCPA claims. However, HRRG reserves the right, upon further

discovery, to contest whether Plaintiffs have suffered a particularized, concrete, injury-

in-fact that is sufficient to confer standing to sue and/or whether the Court lacks subject

matter jurisdiction under Article III of the Constitution of the United States. Further, to

the extent that Paragraph No. 2 can be construed to allege that HRRG violated the

FDCPA, Paragraph No. 2 is denied. Additionally, HRRG states that venue of this action


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in the Western District of Oklahoma is not contested.

                                      III.   PARTIES

       3.      In response to Paragraph No. 3 of Plaintiff’s Amended Complaint, HRRG

states that Plaintiff Brittney Buckner’s allegation that she is a “consumer” as defined by §

1692a(3) of the FDCPA states a legal conclusion to which no response is required. The

remaining allegations in Paragraph No. 3 are admitted in part and denied in part. HRRG

admits that Plaintiff Brittney Buckner is a natural person.          However, HRRG lacks

knowledge or information sufficient to enable it to admit the allegation that Plaintiff is a

resident of Midwest City, Oklahoma County, Oklahoma; therefore, denied.

       4.      Paragraph No. 4 of Plaintiffs’ Amended Complaint is admitted in part and

denied in part. HRRG admits that Plaintiff Vance Dotson is a natural person. HRRG lacks

knowledge or information sufficient to enable it to admit the allegation that Plaintiff Vance

Dotson is a resident of Oklahoma City, Oklahoma County, Oklahoma; therefore, denied.

Further, as to Plaintiff Vance Dotson’s allegations that he “has been assigned 100 percent

of these claim(s) above also is Attorney-in-Fact pursuant to Okla. Stat. tit. 15, § 1014,” that

allegation states a legal conclusion to which no response is required. To the extent,

however, a response may be required, HRRG states that, at this time, it lacks knowledge

or information sufficient to enable it to admit that allegation; therefore, denied. Further,

HRRG disputes that Plaintiff Brittney Bucker’s alleged assignment to Plaintiff Vance

Dotson is a valid assignment. 12 O.S. § 2017 (D) (“[t]he assignment of claims not arising

out of contract is prohibited.”); see also Trinity Mortg. Cos. v. Dryer, 451 Fed. Appx. 776


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(10th Cir. 2011) (“finding that "Trinity gave Junker an ownership interest for the specific

and sole purpose of permitting Junker to litigate Trinity's claims against [its former

counsel]" and disallowing the de facto assignment because it was "clearly against public

policy."); Lester v. Minnesota Life Ins. Co., Case No. 13-CV-443-JED-PJC, 2014 U.S.

Dist. LEXIS 4373 (N.D. Okla. Jan. 14, 2014) (holding that plaintiff could not maintain tort

claims for fraud, bad faith, emotional distress or duress based upon assignment because

Oklahoma law prohibits the assignment of tort claims); Rose Grp., L.L.C. v. Miller, 2003

OK CIV APP 18, 64 P.3d 573, 575 (Okla. Civ. App. 2003) (“Section 2017(D) prohibits

the assignment of claims not arising from contract. This section embodies the common law

rule that a chose in action arising out of a pure tort is not assignable.”); accord Montoya v.

State Farm Mut. Auto. Ins. Co., Case No. 16-00005 (RCL), 2016 U.S. Dist. LEXIS 141322

(W.D. Tex. Oct. 12, 2016) (“[The Texas Supreme Court has declared that DTPA claims

generally cannot be assigned by an aggrieved consumer to someone else because the cause

of action is “personal and punitive.”); Stearns v. Wheeler, LLC v. Kowalsky Bros., Inc., 289

Conn. 1, 9-10, n. 12, 955 A.2d 538 (2008) (“Therefore, although CUTPA claims are neither

contract nor tort claims, and CUTPA claims may occasionally arise out of contractual

relationships, the considerations of business necessity that underlie the policy allowing free

assignment of ordinary contract rights may not apply generally to CUTPA claims. The

policies against trafficking in personal claims and excessive litigation, in contrast, may

apply. Indeed, in light of the expanded remedies available under CUTPA, most notably,

the availability of attorney’s fees, the temptation for ‘unscrupulous interlopers and litigious


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persons’..to interfere would be greater in this context than in tort claims, giving these

concerns even greater force.”) (internal quotations and citations omitted). Further, upon

information and belief, the purported assignment between Plaintiff Buckner and Plaintiff

Dotson may lack consideration and for that additional reason may be void.

       5.      Paragraph No. 5 of Plaintiffs’ Amended Complaint is directed at Defendant

Enhanced Recovery Company and not at HRRG; therefore, no response is required. To the

extent, however, a response may be required, HRRG states that, at this time, it lacks

knowledge or information sufficient to enable it to admit the allegations in Paragraph No.

5; therefore, Paragraph No. 5 is denied.

       6.      Paragraph No. 6 of Plaintiffs’ Amended Complaint is denied as written.

       7.      Paragraph No. 7 of Plaintiffs’ Amended Complaint is directed at Defendant

CAC Financial Corp. and not at HRRG; therefore, no response is required. To the extent,

however, a response may be required, HRRG states that, at this time, it lacks knowledge

or information sufficient to enable it to admit the allegations in Paragraph No. 7; therefore,

Paragraph No. 7 is denied.

       8.      Paragraph No. 8 of Plaintiffs’ Amended Complaint is admitted in part and

denied in part. To the extent that Paragraph No. 8 is directed at Defendants Enhanced

Recovery Company, LLC and CAC Financial Corp., and not at HRRG, HRRG states that,

at this time, it lacks knowledge or information sufficient to enable it to admit the allegations

in Paragraph No. 8; therefore, Paragraph No. 8 is denied. To the extent that Paragraph No.

8 of Plaintiff’s Amended Complaint is directed at HRRG, Paragraph No. 8 is admitted only


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to the extent that HRRG, at times, attempts to resolve outstanding accounts and, at times,

uses the mail and telephone.

                         IV.     FACTS OF THE COMPLAINT

       9.      In response to Paragraph No. 9 of Plaintiffs’ Complaint, HRRG states that

Plaintiff’s allegation that HRRG is a “debt collector” as defined by § 1692a(6) of the

FDCPA states a legal conclusion to which no response is required. Further, to the extent

that Paragraph No. 9 is directed at Defendants Enhanced Recovery Company, LLC and

CAC Financial Corp., and not at HRRG, HRRG states that, at this time, it lacks knowledge

or information sufficient to enable it to admit the allegations in Paragraph No. 9 ; therefore,

Paragraph No. 9 is denied.

       10.     In response to Paragraph No. 10 of Plaintiffs’ Amended Complaint, HRRG

states that it lacks knowledge or information sufficient to enable it to admit the allegations

in Paragraph No. 10 as written; therefore, Paragraph No. 10 is denied.

       11.     In response to Paragraph No. 11 of Plaintiffs’ Amended Complaint, HRRG

states that it lacks knowledge or information sufficient to enable it to admit the allegations

in Paragraph No. 11 as written; therefore, Paragraph No. 11 is denied.

       12.     Paragraph No. 12 of Plaintiffs’ Amended Complaint is directed at Defendant

Enhanced Recovery Company and not at HRRG; therefore, no response is required. To the

extent, however, a response may be required, HRRG states that, at this time, it lacks

knowledge or information sufficient to enable it to admit the allegations in Paragraph No.

12; therefore, Paragraph No. 12 is denied.


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       13.    In response to Paragraph No. 13 of Plaintiffs’ Amended Complaint, HRRG

admits only that it reported to the applicable credit reporting agencies to whom it reports a

balance of $1,063 owed by Plaintiff Buckner to Emer Svc of Oklahoma.

       14.    Paragraph No. 14 of Plaintiffs’ Amended Complaint is directed at Defendant

CAC Financial Corp. and not at HRRG; therefore, no response is required. To the extent,

however, a response may be required, HRRG states that, at this time, it lacks knowledge

or information sufficient to enable it to admit the allegations in Paragraph No. 14; therefore,

Paragraph No. 14 is denied.

       15.    In response to Paragraph No. 15 of Plaintiffs’ Amended Complaint, HRRG

states that to the extent that Paragraph No. 15 is directed at Defendants Enhanced Recovery

Company, LLC and CAC Financial Corp., no response is required. To the extent, however,

a response may be required, HRRG states that, at this time, it lacks knowledge or

information sufficient to enable it to admit the allegations in Paragraph No. 15; therefore,

Paragraph No. 15 is denied. Further, to the extent that Paragraph No. 15 of Plaintiff’s

Amended Complaint is directed at HRRG, Paragraph No. 15 is denied.

       16.    In response to Paragraph No. 16 of Plaintiffs’ Amended Complaint, HRRG

states that to the extent that Paragraph No. 16 is directed at Defendants Enhanced Recovery

Company, LLC and CAC Financial Corp., no response is required. To the extent, however,

a response may be required, HRRG states that, at this time, it lacks knowledge or

information sufficient to enable it to admit the allegations in Paragraph No. 16; therefore,

Paragraph No. 16 is denied. Further, to the extent that Paragraph No. 16 of Plaintiffs’


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Amended Complaint is directed at HRRG, Paragraph No. 16 is denied.

       17.    In response to Paragraph No. 17 of Plaintiffs’ Amended Complaint, HRRG

states that to the extent that Paragraph No. 17 is directed at Defendants Enhanced Recovery

Company, LLC and CAC Financial Corp., no response is required. To the extent, however,

a response may be required, HRRG states that, at this time, it lacks knowledge or

information sufficient to enable it to admit the allegations in Paragraph No. 17; therefore,

Paragraph No. 17 is denied. Further, to the extent that Paragraph No. 17 of Plaintiffs'

Amended Complaint is directed at HRRG, Paragraph No. 17 is denied.

       18.    Paragraph No. 18 of Plaintiffs’ Complaint states a legal conclusion to which

no response is required. To the extent, however, a response may be required, Paragraph

No. 18 is denied as written.

                      V.   FIRST CLAIM FOR RELIEF
(Defendants Enhanced Recovery Company, LLC, Account Resolution Services d/b/a
      Healthcare Revenue Recovery Group, LLC., and CAC Financial Corp.)
                             15 U.S.C. § 1692e(8)

       19.    HRRG re-alleges and incorporates by reference as if fully set forth herein its

answers in Paragraph Nos. 1 through 18 above.

       20.    In response to Paragraph No. 20 of Plaintiffs’ Amended Complaint, HRRG

states that to the extent that Paragraph No. 20 is directed at Defendants Enhanced Recovery

Company, LLC and CAC Financial Corp., no response is required. To the extent, however,

a response may be required, HRRG states that, at this time, it lacks knowledge or

information sufficient to enable it to admit the allegations in Paragraph No. 20; therefore,

Paragraph No. 20 is denied. Further, to the extent that Paragraph No. 20 of Plaintiffs’

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Amended Complaint is directed at HRRG, Paragraph No. 20 is denied.

       21.    In response to Paragraph No. 21 of Plaintiffs’ Amended Complaint, HRRG

states that to the extent that Paragraph No. 21 is directed at Defendants Enhanced Recovery

Company, LLC and CAC Financial Corp., no response is required. To the extent, however,

a response may be required, HRRG states that, at this time, it lacks knowledge or

information sufficient to enable it to admit the allegations in Paragraph No. 21; therefore,

Paragraph No. 21 is denied. Further, to the extent that Paragraph No. 21 of Plaintiffs’

Amended Complaint is directed at HRRG, Paragraph No. 21 is denied.

       22.    In response to Paragraph No. 22 of Plaintiffs’ Amended Complaint, HRRG

states that to the extent that Paragraph No. 22 is directed at Defendants Enhanced Recovery

Company, LLC and CAC Financial Corp., no response is required. To the extent, however,

a response may be required, HRRG states that, at this time, it lacks knowledge or

information sufficient to enable it to admit the allegations in Paragraph No. 22; therefore,

Paragraph No. 22 is denied. Further, to the extent that Paragraph No. 22 of Plaintiffs’

Amended Complaint is directed at HRRG, Paragraph No. 22 is denied.

                VI.    JURY DEMAND AND PRAYER FOR RELIEF

       In response to Plaintiffs’ un-numbered “WHEREFORE” paragraph (and its sub-

parts A. through E.) of Plaintiffs’ Amended Complaint, HRRG states that Plaintiffs' jury

demand requires no response. HRRG further denies that judgement should be entered in

favor of Plaintiffs and against HRRG. HRRG further denies that it violated the FDCPA

and also denies that Plaintiffs are entitled to any of the relief requested in sub-parts A


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through E.

                  HRRG’S AFFIRMATIVE AND OTHER DEFENSES

       HRRG alleges the following affirmative and other defenses, as authorized by the

Federal Rules of Civil Procedure:

       1.      HRRG asserts that Plaintiffs have failed to state a claim upon which relief

may be granted.

       2.      HRRG disputes that Plaintiff Brittney Bucker’s alleged assignment to

Plaintiff Vance Dotson is a valid assignment. 12 O.S. § 2017 (D) (“[t]he assignment of

claims not arising out of contract is prohibited.”); see also Trinity Mortg. Cos. v. Dryer,

451 Fed. Appx. 776 (10th Cir. 2011) (“finding that "Trinity gave Junker an ownership

interest for the specific and sole purpose of permitting Junker to litigate Trinity's claims

against [its former counsel]" and disallowing the de facto assignment because it was

"clearly against public policy."); Lester v. Minnesota Life Ins. Co., Case No. 13-CV-443-

JED-PJC, 2014 U.S. Dist. LEXIS 4373 (N.D. Okla. Jan. 14, 2014) (holding that plaintiff

could not maintain tort claims for fraud, bad faith, emotional distress or duress based

upon assignment because Oklahoma law prohibits the assignment of tort claims); Rose

Grp., L.L.C. v. Miller, 2003 OK CIV APP 18, 64 P.3d 573, 575 (Okla. Civ. App. 2003)

(“Section 2017(D) prohibits the assignment of claims not arising from contract. This

section embodies the common law rule that a chose in action arising out of a pure tort is

not assignable.”); accord Montoya v. State Farm Mut. Auto. Ins. Co., Case No. 16-00005

(RCL), 2016 U.S. Dist. LEXIS 141322 (W.D. Tex. Oct. 12, 2016) (“[The Texas Supreme


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Court has declared that DTPA claims generally cannot be assigned by an aggrieved

consumer to someone else because the cause of action is “personal and punitive.”);

Stearns v. Wheeler, LLC v. Kowalsky Bros., Inc., 289 Conn. 1, 9-10, n. 12, 955 A.2d 538

(2008) (“Therefore, although CUTPA claims are neither contract nor tort claims, and

CUTPA claims may occasionally arise out of contractual relationships, the considerations

of business necessity that underlie the policy allowing free assignment of ordinary

contract rights may not apply generally to CUTPA claims. The policies against

trafficking in personal claims and excessive litigation, in contrast, may apply. Indeed, in

light of the expanded remedies available under CUTPA, most notably, the availability of

attorney’s fees, the temptation for ‘unscrupulous interlopers and litigious persons’..to

interfere would be greater in this context than in tort claims, giving these concerns even

greater force.”) (internal quotations and citations omitted). Further, upon information and

belief, the purported assignment between Plaintiff Buckner and Plaintiff Dotson may lack

consideration and for that additional reason may be void.

       3.      HRRG denies that Plaintiffs have suffered any actual damages; however, if

such damages do exist (which is denied) then HRRG asserts that such actual damage

claims are subject to the defense of failure to mitigate.

       4.      HRRG asserts that it was not the proximate and/or producing cause of

Plaintiffs’ alleged damages, if any.

       5.      HRRG asserts that any alleged damages to Plaintiffs, which HRRG

continues to deny, is the result of the acts or omissions of Plaintiffs or other third-parties,


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over whom HRRG has no control and to whom HRRG has no responsibility.

       6.      HRRG denies that Plaintiffs are entitled to, or should, recover statutory

damages in any amount for any claim. See, e.g., Jerman v. Carlisle, McNellie, Rini,

Kramer & Ulrich LPA, 130 S. Ct. 1605, 176 L.Ed.2d 519 (2010).

       7.      HRRG asserts that an award of statutory damages in the absence of actual

damages would be a denial of its right to due process under the Constitution of the United

States of America. See, e.g., State Farm Mut. Auto. Ins. Co. v. Campbell, 538 U.S. 408,

123 S. Ct. 1513, 155 L. Ed. 2d 585 (2003); BMW of N. Am. v. Gore, 517 U.S. 559, 116

S. Ct. 1589, 1234 L. Ed. 2d 809 (1996).

       8.      HRRG asserts that it has not willfully, knowingly or negligently committed

any wrongful, illegal or inappropriate acts.

       9.      HRRG asserts that if any violations of the FDCPA did occur (which it

denies), then such violations were unintentional, and they occurred as a result of a bona

fide error, notwithstanding the maintenance of procedures reasonably adapted to avoid

and prevent the alleged violations. Therefore, HRRG is entitled to the defense provided

by 15 U.S.C. § 1692k(c).

       10.     HRRG reserves the right to assert additional affirmative and other

defenses as may become apparent during discovery.

            HRRG’S REQUEST FOR ATTORNEYS’ FEES AND COSTS

       HRRG asserts that Plaintiffs’ claims have been brought in bad faith and/or for the

purposes of harassment; therefore, pursuant to 15 U.SC. § 1692k(a)(3), HRRG is entitled


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to recover from Plaintiffs, attorneys’ fees reasonably related to the work performed and

costs.

         WHEREFORE, PREMISES CONSIDERED, Defendant Healthcare Revenue

Recovery Group, LLC d/b/a ARS Account Resolution Services prays that Plaintiffs,

Brittney Buckner and Vance Dotson, take nothing by reason of this lawsuit. Defendant

further prays for its fees and costs together with all such other and further relief, at law or

in equity, as to which it may be justly entitled.

Dated: February 8, 2021.                   Respectfully submitted,


                                           /s/ Kevin T. Crocker
                                           Kevin T. Crocker, Esq.
                                           Texas Bar No. 05087250
                                           Attorney For Defendant Healthcare
                                           Revenue Recovery Group, LLC d/b/a ARS
                                           Account Resolution Services
                                           BARRON & NEWBURGER, P.C.
                                           7320 N. MoPac Expwy., Ste. 400
                                           Austin, Texas 78731
                                           (512) 649-2417 [Direct]
                                           (512) 279-0310 [Fax]
                                           E-Mail: kcrocker@bn-lawyers.com




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                             CERTIFICATE OF SERVICE

      This is to certify that on the 8th day of February 2022, a true and correct copy of the
above and foregoing “Defendant Healthcare Revenue Recovery Group, LLC’s Original
Answer to Plaintiffs’ Amended Complaint” was served via the Court’s CM/ECF system
and/or by e-mail transmission on: (a) Plaintiffs, Brittney Buckner and Vance Dotson, 425
W. Wilshire Blvd., Ste. E, Oklahoma City, Oklahoma 73116, e-mail:
vancedotson@yahoo.com; and, (ii) counsel for CAC Financial Corp., Xerxes Martin, Esq.
and Cooper Walker, Esq., Malone Frost Martin PLLC, NorthPark Central, Suite 1850,
8750 North Central Expressway, Dallas, Texas 75231, (214) 346-2630 [Telephone], (214)
346-2631 [Facsimile], e-mails: xmartin@mamlaw.com and cwalker@mamlaw.com.



                                           /s/ Kevin T. Crocker
                                           Kevin T. Crocker, Esq.




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